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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

JORGE E. VAZQUEZ,
Case No. 1:17-cv-00997-ELH

Plaintiff
Vv.
SYNCHRONY BANK INC., and
MIDLAND CREDIT MANAGEMENT

INC.
Defendants

STIPULATION OF DISMISSAL AS TO
MIDLAND CREDIT MANAGEMENT, INC. ONLY

Plaintiff Jorge E. Vazquez and defendant Midland Credit Management,
Inc., by counsel, hereby stipulate and agree that all matters between them have
been compromised, and that Plaintiffs claims against Midland Credit

Management, Inc. should be dismissed with prejudice, with each party to bear

its own, costs and attorneys’ fees.

sf Laurew M. Burnette
LAUREN M. BURNETTE
BARRON & NEWBURGER, P.C.

 

 

 

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Counsel for Defendant
Date: (g 12] 1+ APPROVED BY THE COURT:

 
